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10
     Attorney for Plaintiff,
     JOSE TINOCO and all putative class members
11

12

13                                UNITED STATES DISTRICT COURT
14                             CENTRAL DISTRICT OF CALIFORNIA
15

16
     JOSE TINOCO, an individual, on behalf )                         Case No.: 2:17-CV-06187 FMO
     of himself and all others similarly   )                         (ASx)
17   situated,                             )
                                           )                         (Judge: Hon. Fernando M. Olguin)
18                                         )
                               Plaintiff,  )                         DECLARATION OF NAZO
19                                         )                         KOULLOUKIAN IN SUPPORT
     vs.                                   )                         OF PLAINTIFF’S MOTION FOR
20                                         )                         ATTORNEYS’ FEES, COSTS,
                                           )                         AND ENHANCEMENT AWARD
21   HAJOCA CORPORATION, a                 )
                                           )
22   professional corporation, and DOES 1- )
     50, inclusive,                        )
23                                         )
                                           )
24                            Defendants.  )
                                           )
25                                         )
     ________________________________ )
26   _
27

28




     ______________________________________________________________________________________
       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 1
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1    I, NAZO KOULLOUKIAN, RESPECTFULLY DECLARE AS FOLLOWS:
2            1.       I am now and have been at all times relevant to this Declaration an
3    Active Member of the State Bar of California, and Principal and Owner of Koul Law
4    Firm (“Koul Law Firm”), and Class Counsel of record in this action. I make this
5    declaration on the basis of personal firsthand knowledge unless another source of
6    information or belief clearly appears from the context, and as to all such matters I
7    believe them to be true. If called as a witness, I could and would readily and
8    competently testify to all matters stated within.
9            2. I make this declaration in support of Plaintiff’s Unopposed Motion for
10   Attorneys’ Fees, Costs, and Enhancement Award in the above-referenced case. I
11   believe that my declaration, which details my hours and collective costs invested in
12   this action fully support the fee award requested. Further, while my co-counsel
13   Sahag Majarian is and has been out of the country on an extended pre-planned trip,
14   he herein provides his time investment based upon the electronic records available
15   to him overseas
16           3.       On July 19, 2017, Named Plaintiff Jose Tinoco (“Plaintiff”) filed a
17   putative wage and hour class action lawsuit against Defendant Hajoca Corporation
18   (“Defendant”). The action was brought on behalf of a proposed class comprised of
19   Defendant’s current and former employees who worked for Defendant in California.
20           4.       This class and PAGA representative action alleges the following
21   violations: (1) failure to pay overtime due to miscalculation of rate of pay; (2) failure
22   to pay overtime due to timecard rounding; (3) meal period violations; (4) rest period
23   violations; (5) failure to timely pay wages upon termination; (6) failure to furnish
24   and maintain accurate payroll records; and (7) unlawful business practices. Plaintiff
25   brings this action on a representative basis on behalf of approximately 383 total class
26   members, working at an average hourly rate of $18.23.
27           5.       Through hard fought litigation, Plaintiff has successfully obtained a
28   substantial, non-reversionary $1,440,000 settlement.



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       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 2
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1

2                                       NAMED PLAINTIFF’S ROLE
3            6.       Plaintiff has been instrumental in providing critical information and
4    evidence used to establish the existence of the alleged unlawful practices pertaining
5    to all the hourly, non-exempt employees. As described in Plaintiff’s Declaration in
6    Support of Preliminary Approval, attached hereto as exhibit 1 for the Court’s
7    convenience, Plaintiff provided pre-litigation information to my office that helped
8    identify and explain, not only the claims, but also specific common practices among
9    class members and how they affected him and his co-workers. Plaintiff also provided
10   documents and information for use in preparing for mediation. Plaintiff also attended
11   the mediation and was critical in bringing about the Settlement Agreement.
12           7.       In the final analysis, this Class Action would not have been possible
13   without the aid of Plaintiff, who put his own time and effort into this litigation,
14   sacrificed the value of his own individual claims, and placed himself at risk for the
15   sake of the class members. Moreover, Plaintiff’s name and personal allegations are
16   memorialized in the Complaint thus exposing himself to potential liability for costs
17   and industry/employer blacklisting. The requested incentive award of $5,000.00 to
18   the Named Plaintiff, just 0.35% of the Gross Settlement Fund, is therefore
19   reasonable to compensate Plaintiff for his active participation in this lawsuit.
20           8.       In turn, approximately 383 class members will now have the
21   opportunity to participate in a settlement, reimbursing them for wage violations they
22   may have never known about on their own or been willing to pursue on their own
23   because of otherwise modest individual sums of money at stake. If these class
24   members would have each tried to pursue their legal remedies on their own, that
25   would have resulted in each having to expend a significant amount of their own
26   monetary resources and time, which were obviated by Plaintiff putting himself on
27   the line on behalf of these other class members.
28




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       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 3
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1                                 DISCOVERY AND INVESTIGATION
2              9.     Discovery and investigation undertaken by Plaintiff was extensive.
3    Prior to filing the lawsuit, I conducted extensive interviews of Plaintiff’s records,
4    spent significant time discussing Plaintiff’s experiences at work and whether those
5    experiences are common among his coworkers. I also spent significant time
6    conducting legal research to determine the strength of each claim, and the most
7    effective litigation strategy to employ to best advance Plaintiff’s claims on behalf
8    of him as well as the class.
9        10.          Prior to the mediation, Defendants produced voluminous time punch
10   and payroll documents, in addition to relevant company documents, including:
11
         • Over 2,500 pages of time and payroll records reflecting 8,494 shifts worked
12
               by 10% of the class;
13
         • Over 100 pages of policies and procedures;
14
         • 30-plus pages of job descriptions;
15

16
                My office spent a significant amount of time reviewing these documents
17
     and, with the assistance of a retained expert, analyzing the time records and pay
18
     statements to determine Defendants’ potential damage exposure, necessary to
19
     evaluate the risks for liability on the amount of wages owed, as well as damages
20
     data for the Class, which has been used to calculate the damages exposure for the
21
     class and allocation of payments. Plaintiff has also been an invaluable source of
22
     information by providing his own documents and helping to explain how
23
     Defendants’ policies operate and impact him and his coworkers.
24
               11.    The Parties arrived at this settlement through arm’s length bargaining
25
     following a full day of mediation with mediator, Jeff Krivis, Esq. The Parties went
26
     into mediation willing to explore the potential for a settlement of the dispute, but
27
     each side was also committed and prepared to litigate its position through trial and
28




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       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 4
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1    appeal if a settlement had not been reached. The proposed settlement was reached
2    at the end of an arms-length negotiation process, in which counsel for all parties
3    advanced their respective positions throughout the settlement negotiations,
4    including each side’s strengths and weaknesses pertaining to certification of a class
5    and a class-wide trial. As such, the negotiations were at arm’s length.
6            12.      In settlement of this litigation, Defendant has agreed to: (i) pay the
7    Gross Settlement Amount of $1,440,000, (ii) allow 100% of the settlement funds to
8    be non-reversionary; (iii) send notice to the putative class concerning the
9    settlement; and (iv) permit class members who wish to exclude themselves or
10   object to the settlement to do so.
11           13.      I believe that this is a very favorable settlement for the class,
12   providing a remedy consistent with what the class could expect to receive if they
13   prevailed at trial, but without the lengthy delay and risk of loss that a trial and
14   subsequent appeal would entail. The settlement terms represent a compromise of
15   the parties’ disputes and are fair, adequate and reasonable to the class given the
16   risks that both sides faced in the litigation.
17

18                  QUALIFICATIONS, EXPERIENCE, AND EXPERTISE
19           14.       I received a B. A. in Communication Studies in 2005 from UCLA, an
20   institution where I currently serve as faculty. I received my J.D. from University of
21   Maryland School of Law in 2008. I became an Active Member of the State Bar of
22   California in June 2009, and have been an Active Member in good standing
23   continuously since then. I am a current member of the California Employment
24   Lawyers Association (CELA). I have also been named as one of the Rising Stars
25   for the Super Lawyers of Southern California during 2016, 2017, and 2018.
26           15.      I founded Koul Law Firm (“Koul Law Firm”) in 2017. Prior to starting
27   Koul Law Firm, I was a Senior Associate at Joseph Farzam Law Firm, (“Farzam
28




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       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 5
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1    Law Firm”) which was founded in 2002, and where I worked from 2013 through to
2    the end of 2016.
3            16.      During the approximately over ten years since I began practicing law, I
4    have built my practice to have a heavy emphasis on employment and related
5    litigation. I have been heavily, successfully, and continuously involved in active
6    litigation and trial work, including without limitation, wage and hour class action
7    litigation, employees’ rights, civil rights, discrimination, and sexual harassment
8    claims, and other forms of employment litigation.
9            17.      Koul Law Firm co-counsels with various other attorneys, all of whom
10   are actively and continuously practicing in employment litigation, representing
11   almost entirely employee plaintiffs, in both individual and class actions, in this
12   Superior Court, and other Superior Courts throughout the State, in the Court of
13   Appeal, and in various Federal courts. During my time at Farzam Law Firm, and
14   currently with Koul Law Firm, I have litigated hundreds of cases against the largest
15   firms in the country, including but not limited to Buchalter, Gordon & Rees, Ogletree
16   Deakins, Jones Day, Littler Mendelson, Jackson Lewis LLP, Lewis Brisbois
17   Bisgaard & Smith LLP, DLA Piper, O'Melveny and Myers, and Manatt Phelps &
18   Phillips, LLP. Because of the unique history and nature of my practice, I operate
19   with a high level of knowledge and experience in areas of wage and hour class
20   actions, and labor and employment law. Currently, more than half of my active
21   caseload includes wage and hour class action cases. Besides myself, my firm co-
22   counsels with attorneys with the following qualifications:
23                 a. Sahag Majarian, II, Loyola Law School, over 28 years of litigation
24                    experience;
25                 b. Charles Ted Mathews, Loyola Law School, over 45 years of litigation
26                    experience;
27                 c. Ashkan Shakouri, USC Law School, over 15 years of litigation
28                    experience; and



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       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 6
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1                  d. Joshua N. Lange, UCLA School of Law, over 8 years of litigation
2                     experience.
3            18.      My office is qualified to handle this litigation because we are
4    experienced in litigating Labor Code violations in both individual and class actions.
5    I have served as lead counsel in numerous wage and hour class actions, and have
6    successfully negotiated several settlements, including multiple six-figure and seven-
7    figure cases, amounting to millions of dollars in settlements.
8            19. I was recently appointed class counsel for a class certified for final
9    approval by the Honorable David Cohn representing a class of approximately 400
10   current and former laborers for wage and hour violations in Armando Madrigal
11   Barreto v. Etivista Concrete, Inc., et al., settled in the Superior Court for the State
12   of California, County of San Bernardino, bearing Case No. CIVDS1712018.
13           20.      I recently also won a successful verdict following a two weeks-long
14   trial on behalf of an employee in a case titled Jesperson v. Lightning Technology,
15   Inc., before the Honorable David T. McEachen in the Superior Court of the State of
16   California, County of Orange.
17           21.      I am currently counsel for over twenty class and PAGA matters pending
18   in state and federal court across the state of California. Additionally, I was recently
19   appointed class counsel for the following classes, certified for preliminary approval
20   and/or final approval:
21                 • FRANCISCO CISNEROS & ARMONDO ORTIZ v. LAZY
22                     DOG RESTAURANTS, LLC (Case No. 56-2017-00501824-CU-
23                     OE-VTA) in Ventura County Superior Court: In Cisneros, the
24                     Court approved a representative action for wage and hour violations
25                     on behalf of approximately 6,927 aggrieved employees. The case was
26                     settled following extensive informal discovery and the Court
27
                       approved a final settlement and judgment for $1,100,000, with 33.3%
28
                       for attorneys’ fees on June 4, 2019.



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       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 7
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1                  • EDUARDO MARQUEZ & BEATRIZ MARQUEZ v. THREE
2                      SONS, INC. DBA AMERICAN MEAT COMPANIES, ET AL.
3                      (Case No. BC701526) in Los Angeles Superior Court: In Marquez,
4                      the Court preliminarily approved myself as lead class counsel
5                      representing a class of approximately 249 employees for wage and
6                      hour violations. The case was settled following extensive discovery
7                      and the Court granted preliminary approval of settlement for
8                      $1,400,000, with 33.3% for attorneys’ fees on June 3, 2019.
9                  • JOSE SERRANO v. HERITAGE FORD, INC., ET AL. (Case No.
10                     CV18002584) in Stanislaus Superior Court: In Serrrano, the Court
11                     approved a representative action for wage and hour violations on
12                     behalf of approximately 114 aggrieved employees. The case was
13
                       settled following extensive informal discovery and the Court
14
                       approved a final settlement and judgment for $150,000, with 33% for
15
                       attorneys’ fees on May 22, 2019.
16
                   • JOSE ESTRADA v. BURLINGAME INDUSTRIES, ET. AL.
17
                       (Case No. CIVDS1712815 - Consolidated with Case No.
18
                       CIVDS1805057) in San Bernardino Superior Court: In Estrada, I
19
                       was lead class counsel representing a class of approximately 740
20
                       employees for wage and hour violations. The case was settled
21
                       following extensive discovery and the Court approved a final
22
                       settlement and judgment for $2,000,000, with 33% for attorneys’ fees
23
                       on February 6, 2019. In connection with this matter, the Court
24
                       approved my hourly rate at $595.00.
25
                   •     LUIS AVILA v. AL DAHRA ACX, INC., ET. AL. (Case No.
26
                       BC685992) in Los Angeles Superior Court: In Avila, I was
27
                       preliminarily approved as lead class counsel representing a class of
28




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       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 8
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1                      approximately 280 employees for wage and hour violations. The case
2                      was settled following extensive discovery and the Court granted final
3                      approval of settlement for $250,000, with 33% for attorneys’ fees on
4                      November 28, 2018.
5                  • ARMANDO M. BARRETO v. ETIVISTA CONCRETE, ET. AL.
6                      (Case No. CIVDS1712018) in San Bernardino Superior Court: In
7                      Barreto, I was lead class counsel representing a class of approximately
8                      800 employees for wage and hour violations. The case was settled
9                      following extensive discovery and the Court approved a final
10                     settlement for $838,750, with 33% for attorneys’ fees on June 28,
11                     2018. In connection with this matter, the Court approved my hourly
12                     rate at $550.00.
13           22. My prior firm, Farzam Law Firm, had a number of cases where myself
14   and my partner served as lead class counsel in a practice consisting predominately
15   of trial work. I have successfully represented clients in over 60 cases filed in federal
16   court, as well as in over 300 matters filed in California Superior Court. I have served
17   as Class Counsel and Interim Class Counsel in a number of other matters. I have
18   also represented plaintiffs acting as private attorneys general in bringing public
19   interest actions against major retail stores, hotels and others who have violated unfair
20   competition laws.            My adequacy to serve as Class Counsel is not contested.
21   Additional experience serving as Class Counsel consists of the following:
22                a. JUAN CARLOS BEIZA, et al. v. STAFFING SYSTEMS, INC. et
23                    al. (Case No. BC466278) in Los Angeles Superior Court: In Beiza,
24                    this Court appointed me as class counsel with respect to a class of
25                    warehouse, maintenance, and security workers for overtime rounding,
26                    missed meal and rest breaks, and various other wage penalties. In this
27                    matter, we defeated a Motion for Summary Judgment. Thereafter, we
28




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       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 9
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1                      attended mediation and settled the matter. The Court approved a
2                      settlement of $800,000 with $300,000 as reasonable attorneys’ fees.
3                  b. JOSE            TORRES/ADELINA                        QUINTANA                  v.       JACOBS
4                      FARMS/DEL CABO, INC., et al. (Case No. BC499930) in Los
5                      Angeles Superior Court: In Quintana, I was lead class counsel where
6                      we represented farm employees for failure to pay wages, including
7                      overtime, failure to provide meal and rest breaks, failure to provide
8                      accurate payroll statements, unfair business practices and conversion of
9                      wages. After extensive discovery, all parties attended mediation, and
10                     the Court approved settlement in the amount of $300,000 with 33.33%
11                     ($100,000) for attorneys’ fees.
12                 c. CRISTIAN LUNA, ET AL. V. CHANEL, INC. (2:15-cv-09541-
13                     RGK-KK) in United States District Court.
14

15                              RISK ASSUMED BY CLASS COUNSEL
16           23.       My office invested significant time and resources into the case, with
17   payment deferred to the end of the case, and then, of course, contingent on the
18   outcome.
19           24.       Before agreeing to represent Plaintiff and the proposed class in this
20   action, I carefully weighed the potential benefits and risks from committing to this
21   litigation. Because most individuals cannot afford to pay for representation in
22   litigation on an hourly basis, Koul Law Firm represents virtually all of its
23   employment law clients on a contingency fee basis. This matter is no different. I
24   therefore understood that there was a very real possibility that I would never be able
25   to recoup my investment of time and money in this case. I also understood that even
26   if I was ultimately able to recoup the investment of time and money, there would
27   necessarily be a delay (potentially of many years) between the time these
28   expenditures were made by my firm and the time that we were paid. Because of the



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       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 10
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1    real risk of obtaining no payment whatsoever, the certainty that payment (if any)
2    would be delayed, and the large investment of time and money that would likely be
3    required, I would not have agreed to represent Plaintiff and the proposed class on a
4    pure hourly basis.
5            25.       From the initiation of this case, my firm undertook considerable risk
6    that – despite the significant investment of time and money – we would never receive
7    any payment from the prosecution of this action. We also knew that prevailing and
8    ultimately collecting any recovery from the Defendant in this matter was never
9    anywhere near certain, considering the complexity of class action claims, the legal
10   viability of Plaintiff’s claims, whether Plaintiff would be able to obtain the necessary
11   discovery and evidence to support those claims, whether Plaintiff would be able to
12   successfully certify a class, and whether Plaintiff would be successful at trial. I
13   accepted and proceeded with this litigation in the face of this uncertainty, agreeing
14   to undertake this litigation on a wholly contingent basis and thereby initiating
15   complex, expensive and lengthy litigation, with no guarantee of compensation for
16   the significant amount of time, money and effort that we were prepared to and did
17   invest to prosecute this case. Because Koul Law Firm is taking the risk that we will
18   not be reimbursed for our time and costs unless our clients settle or win their case,
19   we cannot afford to represent an individual employee on a contingency basis if, at
20   the end of our representation, all we are to receive is our regular hourly rate for
21   services. It is essential that we recover more than our regular hourly rate when we
22   win if we are to remain in practice so as to be able to continue representing other
23   individuals in civil rights employment disputes.
24           26.       By pursuing this litigation and devoting the significant resources that
25   this litigation required, my firm necessarily had to forego developing and working
26   on other cases available to us. To augment the practical limitations of managing a
27   relatively small practice, I have developed close relationships with several other
28




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       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 11
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1    experienced attorneys, as listed above, to work together as “Of Counsel” or co-
2    counsel in numerous cases handled by Koul Law Firm.
3                                    ATTORNEYS’ FEES AND COSTS
4            27.       I believe that the fee and costs provision is reasonable. The fee
5    percentage requested of 30% is below the 33.3% usual customary percentage fee for
6    most employment cases. As stated, above, my office takes on a lot of risk with wage
7    and hour class actions, investing significant time, money and resources into the case,
8    with payment deferred to the end of the case, and then, of course, entirely contingent
9    on the outcome. A recovery of 30% of the common fund has been routinely approved
10   by California courts in wage and hour class actions. See, e.g., Vasquez v. Coast
11   Valley Roofing, Inc., 266 F.R.D. 482, 491-92 (E.D. Ca. 2010) (citing to five recent
12   wage and hour class actions where federal district courts approved attorney fee
13   awards ranging from 30 to 33%); Singer v. Becton Dickinson and Co., 2010 U.S.
14   Dist. LEXIS 53416, 2010 WL 2196104, * 8 (S.D. Ca. June 1, 2010) (approving
15   attorney fee award of 33.33% of the common fund and holding that award was
16   similar to awards in three other wage and hour class action cases where fees ranged
17   from 30.3% to 40%); Romero v. Producers Dairy Foods, Inc., 2007 WL 3492841,
18   *4 (approving attorneys’ fees of 1/3 of the common fund in a missed meal break
19   class action, noting, “fee awards in class actions average around one-third of the
20   recovery”); Martin v. Ameripride Servs., 2011 U.S. Dist. LEXIS 61796, 22-23 (S.D.
21   Cal. June 9, 2011); Barrett v. Doyon Security Services, LLC, Case Nos. BS900199;
22   BS900517, San Bern. Sup. Court (approving fees of 1/3 of the common fund in a
23   missed meal break and overtime class action). I estimate that if we went to trial,
24   given the extensive discovery, depositions, and presentation of expert and percipient
25   witnesses at trial, fees would exceed the $432,000 requested.
26           28.       My office invested significant time and resources into the case, with
27   payment deferred to the end of the case, and then, of course, contingent on the
28   outcome. My office’s efforts included, without limitation, the following:



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       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 12
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1                  • conducting initial investigations and intake interview with Plaintiff,
2                      including review of all documents produced by Plaintiff, necessary to
3                      support filing an action against Defendant and inform litigation
4                      strategy;
5                  • preparation of multiple drafts of the PAGA notice letter;
6                  • preparation of class action complaints;
7                  • drafting amended complaints;
8                  • conducting            numerous           conferences          and      correspondence            with
9                      Defendant’s counsel to obtain relevant documents and information
10                     through informal discovery;
11                 • review of extensive documents produced by Defendant, including
12                     employment records, and time and payroll records;
13                 • analyzing and interpreting time records produced by Defendants, and
14                     formatting said data in a manner that could be used to support
15                     Plaintiff’s legal theories and damage analysis;
16                 • hiring and conferring with an expert to advance Plaintiff’s analysis of
17                     Defendant’s documents and files;
18                 • legal research regarding Defendant’s practices;
19                 • strategizing regarding litigation tactics, as necessary to succeed in
20                     contested and complex litigation;
21                 • numerous telephone conferences and email exchanges with Defense
22                     counsel necessary to advance Plaintiff’s litigation efforts;
23                 • following analysis of gathered data, and believing the case was
24                     appropriate for consensual resolution given the high level or risk
25                     present for both sides, proposing mediation and negotiating mediator
26                     selection and dates;
27                 • research and preparation of Plaintiff’s mediation brief;
28                 • preparation for and attendance at a full-day private mediation;



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       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 13
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1                  • negotiations and extensive revisions of the Settlement Agreement;
2                  • negotiations and revisions of Class Notice;
3                  • preparation and filing of the motion for preliminary approval and
4                      order, including numerous extensive revisions thereto;
5                  • working with Settlement Administrator to ensure compliance with
6                      Court’s order on preliminary approval;
7                  • conducting legal research and drafting the motion for attorneys’ fees,
8                      costs, and enhancement award;
9                  • attendance at the hearing on the motion for attorneys’ fees, costs, ane
10                     enhancement award;
11                 • any and all further action required to obtain and implement any future
12                     Court orders, including an order granting final approval.
13
             29.       Litigating the class and collective action claims would require
14
     substantial additional preparation and discovery. It would require depositions of
15
     experts, the presentation of percipient and expert witnesses at trial, as well as the
16
     consideration, preparation, and presentation of voluminous documentary evidence
17
     and the preparation and analysis of expert reports. There is also the delay and
18

19
     duration of further litigation. The litigation was filed in July of 2017. The matter

20
     has been pending for over two years. Certification and dispositive motions have yet

21
     to be filed. In light of the current posture of the case, Class Counsel would still need

22
     to prepare and file a class certification motion. Thus, the litigation would likely

23
     remain pending for nearly another year and a half, and potentially longer taking into

24
     consideration unforeseen delays and scheduling issues. The risks of maintaining

25
     class action status in this case as well as demonstrating Defendant’s ultimate liability

26
     at trial are also significant. Recovery of the damages and penalties would require

27
     complete success and certification of all of Plaintiffs’ claims, a questionable feat in
28
     light of recent developments in wage and hour and class and collective action law as




     ______________________________________________________________________________________
       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 14
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1    well as the legal and factual grounds that Defendant has asserted to defend this
2    action. For example, Defendant raised several defenses to Plaintiff’s overtime
3    miscalculation claim, at all times alleging that the bonuses were discretionary and
4    not required to be factored into the calculation. Concerning Plaintiff’s meal and rest
5    break claims, Defendant argued that it properly provided employees with breaks,
6    and that they were not required to police employees who chose to skip or take non-
7    compliant breaks for their personal reasons. Further, rest break violations can be
8    difficult to evidence, given that employees are not required to clock in and out for
9    rest breaks. Defendant also intended to raise several defenses against class
10   certification, including (1) that individualized determinations regarding the amount
11   of overtime wages owing, if any, would overwhelm common issues; and (2) whether
12   Class Members actually took meal and rest breaks would overwhelm any common
13   issues. If Defendant succeeded on any of these or other defenses to class
14   certification, Defendant would likely further argue that its success would necessarily
15   impact Plaintiff’s derivative claims. In the end, Plaintiff would then be left with only
16   individual claims and the Class and Collective would potentially recover nothing.
17   This further demonstrates the reasonableness of the total settlement value and the
18   risks of further litigation.
19           30.       It is further estimated that my office will need to expend at least another
20   15-20 hours to monitor the process leading up to the motion for and hearing on final
21   approval, and then continue to work with the claims administrator to carry out the
22   Court’s orders. My office also bears the risk of taking whatever actions are
23   necessary if Defendants fail to pay. In a recent case, that has meant over 50 hours
24   spent post-final approval in efforts to collect on behalf of the class.
25           31.       My co-counsel and I have collectively incurred $12,135.26 in out-of-
26   pocket expenses to date, including $6,000 for mediation session. I anticipate another
27   several hundred dollars in costs between now and final approval in order to cover
28




     ______________________________________________________________________________________
       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 15
Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 16 of 56 Page ID #:945




1    filing fees, messenger fees, further legal research and travel expenses for court
2    appearances.
3            32.       Because most individuals cannot afford to pay for representation in
4    litigation on an hourly basis, Koul Law Firm represents virtually all of its
5    employment law clients on a contingency fee basis. Pursuant to this arrangement,
6    we are not compensated for our time and costs unless we prevail at trial or
7    successfully settle our clients’ cases. Because Koul Law Firm is taking the risk that
8    we will not be reimbursed for our time and costs unless our client settles or wins his
9    or her case, we cannot afford to represent an individual employee on a contingency
10   basis if, at the end of our representation, all we are to receive is our regular hourly
11   rate for services. It is essential that we recover more than our regular hourly rate
12   when we win if we are to remain in practice so as to be able to continue representing
13   other individuals in civil rights employment disputes.
14           33.       As a result of my prior experience as class counsel in other class
15   actions, I am fully aware of the responsibilities I would owe as Class Counsel to the
16   Class in this action. Finally, I am not aware of any conflict of interest between
17   myself, on the one hand, and Plaintiffs or any other Class Member, on the other
18   hand, which would interfere with my duties as Class Counsel or impede my
19   representation of the proposed Class. Moreover, no Class Member has objected or
20   opted out of the Settlement despite receiving notice of the amounts sought for
21   attorneys’ fees and costs.
22           34.       My current billing rate is approximately $600.00 per hour as managing
23   partner of Koul Law Firm and based on my aforementioned experience of nine years
24   practicing in areas, including without limitation, wage and hour class action
25   litigation, employees’ rights, civil rights, discrimination, and sexual harassment
26   claims, and other forms of employment litigation. The current billing rate for my
27   co-counsel, Sahag Majarian II, is $700.00 per hour. Mr. Majarian has demonstrated
28




     ______________________________________________________________________________________
       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 16
Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 17 of 56 Page ID #:946




1    extensive experience in his labor and employment practice, focusing on wage and
2    hour class actions in California. (See, exhibit 2.)
3            35.       My office requests the foregoing billable rates be applied in this case
4    for myself and Sahag Majarian, as the rates are more than reasonable in the Southern
5    California legal market for attorneys who handle complex class actions involving
6    hundreds or thousands of class members. These hourly rates are commensurate with
7    the market rate for fees according to the Laffey Matrix, a court approved and adopted
8    survey of attorney hourly rates, which places the market rate for me at $658 and
9    Sahag Majarian at $894 per hour. Attached hereto as exhibit 3 is the current version
10   of the Laffey Matrix. The hourly rates used to calculate the lodestar set forth herein
11   also fall well within the range approved as reasonable by courts in similar class
12   action cases. See Prison Legal News v. Schwarzenegger, 608 F.3d 446, 455 (9th
13   Cir. 2010) (district court did not abuse its discretion in awarding 2008 hourly rates
14   for attorneys of up to $875 for a partner, $700 for an attorney with 23 years of
15   experience, $425 for an attorney with approximately five years of experience, and
16   $190 for paralegals); Gutierrez v. Wells Fargo Bank, N.A., 2015 WL 2438274, at *5
17   (N.D. Cal. May 21, 2015) (finding reasonable rates for attorneys of between $474 to
18   $975 for partners, $300 to $490 for associates, and $150 to $430 for litigation
19   support and paralegals).
20   ///
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///



     ______________________________________________________________________________________
       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 17
Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 18 of 56 Page ID #:947




1            36.       I have invested over 298.5 attorney hours in this case. It is further
2    estimated that my office will need to expend at least another 20-40 hours to monitor
3    the remaining process leading up to the final approval and payments made to the
4    class, therefore my lodestar is based upon a projected total hours of 340 or more
5    hours. My co-counsel, Sahag Majarian, has invested approximately 85 hours into
6    this case, and anticipates investing 15 more hours through to the conclusion of final
7    approval and settlement administration. The lodestar calculation is as follows:
8            Nazo Koulloukian                      340 hours x $600/hr =$204,000
9            Sahag Majarian                        100 hours x $700/hr =$70,000
10           Total Lodestar                                                        = $274,000
11           37.       Class Counsel have also incurred $12,135.26 in expenses to date.
12   These costs include: court filing fees, jury fees, mediation fees, expert fees, mileage,
13   and other necessary litigation expenses. I anticipate another few hundred dollars in
14   costs between now and final approval in order to cover further filing fees and travel
15   expenses for court appearances. All of the expenses set forth herein were reasonable,
16   were necessary to the prosecution of the case, and are customarily billed to fee-
17   paying clients. A true and correct copy of my firm’s time sheet and expense sheet
18   for this matter is attached hereto as exhibit 4.
19           38.       The fees requested are also fair on a lodestar basis. Below, I set forth
20   the time expended by Class Counsel this case. In order to accurately track the time
21   each attorney spent working on this case, each attorney manually recorded the
22   amount of time he spent on each discreet activity, generally upon completion of said
23   activity.
24           39.       The lodestar in this case amounts to $274,000, resulting in a multiplier
25   of 1.58.
26

27           I declare under penalty of perjury under the laws of the State of California that
28   the foregoing is true and correct.



     ______________________________________________________________________________________
       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 18
Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 19 of 56 Page ID #:948




1

2            Executed on August 16, 2019, at Los Angeles, California.
3

4                                                           _______/s/ Nazo Koulloukian___________
5                                                                    NAZO KOULLOUKIAN
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     ______________________________________________________________________________________
       Declaration of Nazo Koulloukian in Support of Plaintiff’s Motion for Attorneys’ Fees, Costs, And Enhancement Award- 19
Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 20 of 56 Page ID #:949




                              EXHIBIT A
Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 21 of 56 Page ID #:950
Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 22 of 56 Page ID #:951
Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 23 of 56 Page ID #:952
Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 24 of 56 Page ID #:953
Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 25 of 56 Page ID #:954




                              EXHIBIT B
Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 26 of 56 Page ID #:955




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4    Telephone: (213) 761-5484
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     Sahagii@aol.com
6    LAW OFFICES OF SAHAG MAJARIAN II
     18250 Ventura Blvd.
7    Tarzana, CA 91356
8
     Telephone: (818) 609-0807
     Facsimile: (818) 609-0892
9

10
     Attorney for Plaintiff,
     JOSE TINOCO and all putative class members
11

12                        UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14
     JOSE TINOCO, an individual, on behalf )       Case No.: 2:17-CV-06187 FMO
15   of himself and all others similarly   )       (ASx)
     situated,                             )
16                                         )       (Judge: Hon. Fernando M. Olguin)
                                           )
17                             Plaintiff,  )
18
                                           )       DECLARATION OF SAHAG
     vs.                                   )       MAJARIAN IN SUPPORT OF
19
                                           )       PRELIMINARY APPROVAL OF
                                           )       CLASS ACTION SETTLEMENT
20   HAJOCA CORPORATION, a                 )
                                           )
21
     professional corporation, and DOES 1- )
     50, inclusive,                        )
22                                         )
                                           )
23                            Defendants.  )
                                           )
24                                         )
                                           )
25                                         )
                                           )
26
     ________________________________
27

28




     ______________________________________________________________________________________
     Declaration of Sahag Majarian II in Support of Motion for Order Granting
     Preliminary Approval of Class Action Settlement- 1
Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 27 of 56 Page ID #:956




1          I, SAHAG MAJARIAN II, hereby declare:
2                    1. I am an attorney duly licensed to practice in the State of
3             California and am the principal of the Law Offices of Sahag Majarian II,
4
              one of the attorneys of record for Plaintiff Jose Tinoco in this action
5
              against Hajoca Corporation. I have personal knowledge of the following,
6
              and if called and sworn as a witness, I could and would competently
7
              testify thereto. This declaration is made in support of preliminary
8
              approval of the settlement of class action in this case.
9
                     2. I graduated from Loyola Law School in 1990. Since my
10

11
              graduation, I have been in private practice primarily representing

12
              consumers against insurance companies and workers against their
13            employers. I have devoted a significant portion of my practice to
14            employment law and class actions, and have been appointed co-class
15            counsel for the plaintiffs in no less than 50 wage and hour class actions.
16            A sample of these cases are: Ayvazi v. Ralph Grocery Company, LASC
17            Case No. BC 382980; Sandoval vs. Chevron Stations, Inc., MCSC Case
18
              No. CV 061690; Nieves v. Roy’s Worldwide, Inc., OCSC Case No.
19
              06CC0076; Corado v. Good Year Rubber Corp., SBSC Case No.
20
              RCV095476; Pleitez v. Johnson Controls, LASC Case No. BC353315;
21
              Serrano v. BCI Coca Cola Bottling Co. of L.A., LASC Case No.
22
              BC349904; Urbina v. Valley Crest Co., LASC Case No. BC356023;
23
              Moraza v. OK International, OCSC Case No. 06CC0148; DeLuna v.
24

25
              Target, LASC Case No. BC353080; Daglian v. Staples, Inc., LASC Case

26            No. BC375325; McCoy v. Kimko, OCSC Case No. 07CC00007; Ayvazi v.
27            Ralphs Grocery Company, LASC Case No. BC382980; Razo v. C & D
28            Zodiac, Inc., OCSC Case No 07-CC01373; Sandoval v. Chevron


     ______________________________________________________________________________________
     Declaration of Sahag Majarian II in Support of Motion for Order Granting
     Preliminary Approval of Class Action Settlement- 2
Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 28 of 56 Page ID #:957




1             Stations, Inc. MCSC Case No. CV061690; and Gomez v. Spenuzza, Inc.
2             et al, RCSC Case No RIC524075.
3                    3. In the employment class action arena, I have participated in
4
              over 150 class action mediations. My participation has included
5
              extensive preparation, development of thorough knowledge of the legal
6
              issues related to certification and liability, and full immersion and
7
              participation in the mediation and negotiation process. I have also been
8
              designated co-class counsel in various cases where we prevailed in
9
              contested class certification motions. These cases include Herrera v.
10

11
              Mountain Meadow Mushroom Farms, Inc., SDCSC Case No. 37-2009-

12
              00092416-CU-MT-CTI; Aguirre v. California Drop Forge, Inc., LASC
13            Case No. BC374521; and Marroquin v. Swissport North America, Inc.,
14            LASC Case No. BC390001; Gutierrez v. Save Mart Supermarkets,
15            SMSC Case No. 530955.
16                   4. My participation in this case has included extensive
17            preparation, development of a thorough knowledge of the legal issues
18
              related to certification and liability, and full immersion and preparation
19
              of exposure analysis for the violations asserted against Hajoca
20
              Corporation. The settlement in this case was reached after extensive
21
              negotiations during a full day mediation with an experienced and well
22
              respected mediator Jeff Krivis. Based upon the totality of circumstances,
23
              I believe that the result achieved in this case is an extremely good
24

25
              outcome for all class members.

26                   5. Based on my experience as Class Counsel, and given the legal
27            and factual realities presented in this case, I believe the proposed
28            settlement is fair, reasonable and adequate for the class. As a result of


     ______________________________________________________________________________________
     Declaration of Sahag Majarian II in Support of Motion for Order Granting
     Preliminary Approval of Class Action Settlement- 3
Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 29 of 56 Page ID #:958




1              my prior experience as class counsel in other class actions, I am fully
2              aware of the responsibilities I would owe as Class Counsel to the Class in
3             this action.
4          6. Finally, I am not aware of any conflict of interest between myself, on the
5
               one hand, and Plaintiffs or any other Class Member, on the other hand,
6

7              which would interfere with my duties as Class Counsel or impede my
8
               representation of the proposed Class.
9

10         I declare under penalty of perjury under the laws of the State of California
11   that the foregoing is true and correct.
12         Executed on September 27, 2018 at Tarzana, California.
13

14                                             _______/s/ Sahag Majarian___
                                                    SAHAG MAJARIAN II
15

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     ______________________________________________________________________________________
     Declaration of Sahag Majarian II in Support of Motion for Order Granting
     Preliminary Approval of Class Action Settlement- 4
Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 30 of 56 Page ID #:959




                              EXHIBIT C
1/17/2019
       Case                                          matrix
               2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 31 of 56 Page ID #:960




                                                                                  Years Out of Law School *

                                                                     Paralegal/
                                                          Adjustmt   Law
                                       Year               Factor**   Clerk            1-3      4-7    8-10    11-19    20 +

                                       6/01/18- 5/31/19    1.0350      $202       $371      $455     $658     $742    $894

                                       6/01/17- 5/31/18    1.0463      $196       $359      $440     $636     $717    $864

                                       6/01/16- 5/31/17    1.0369      $187       $343      $421     $608     $685    $826

                                       6/01/15- 5/31/16    1.0089      $180       $331      $406     $586     $661    $796

                                       6/01/14- 5/31/15    1.0235      $179       $328      $402     $581     $655    $789

                                       6/01/13- 5/31/14    1.0244      $175       $320      $393     $567     $640    $771

                                       6/01/12- 5/31/13    1.0258      $170       $312      $383     $554     $625    $753

                                       6/01/11- 5/31/12    1.0352      $166       $305      $374     $540     $609    $734

                                       6/01/10- 5/31/11    1.0337      $161       $294      $361     $522     $589    $709

                                       6/01/09- 5/31/10    1.0220      $155       $285      $349     $505     $569    $686
                                       6/01/08- 5/31/09    1.0399      $152       $279      $342     $494     $557    $671

                                       6/01/07-5/31/08     1.0516      $146        $268      $329    $475     $536    $645

                                       6/01/06-5/31/07     1.0256      $139        $255      $313    $452     $509    $614

                                       6/1/05-5/31/06       1.0427        $136      $249      $305   $441      $497    $598

                                       6/1/04-5/31/05       1.0455        $130      $239      $293   $423      $476    $574
                                       6/1/03-6/1/04        1.0507        $124      $228      $280   $405      $456    $549

                                       6/1/02-5/31/03       1.0727        $118      $217      $267   $385      $434    $522
                                       6/1/01-5/31/02       1.0407        $110      $203      $249   $359      $404    $487
                                       6/1/00-5/31/01       1.0529     $106         $195      $239   $345      $388    $468

                                       6/1/99-5/31/00       1.0491        $101      $185      $227   $328      $369    $444
                                       6/1/98-5/31/99       1.0439         $96      $176      $216   $312      $352    $424

                                       6/1/97-5/31/98       1.0419         $92      $169      $207   $299      $337    $406
                                       6/1/96-5/31/97       1.0396         $88      $162      $198   $287      $323    $389

                                       6/1/95-5/31/96        1.032         $85      $155      $191   $276      $311    $375

http://www.laffeymatrix.com/see.html                                                                                          1/2
1/17/2019
       Case                                          matrix
               2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 32 of 56 Page ID #:961
                                        6/1/94-5/31/95        1.0237          $82      $151      $185    $267     $301     $363


                                       The methodology of calculation and benchmarking for this Updated Laffey Matrix has been
                                       approved in a number of cases. See, e.g., McDowell v. District of Columbia, Civ. A. No. 00-
                                       594 (RCL), LEXSEE 2001 U.S. Dist. LEXIS 8114 (D.D.C. June 4, 2001); Salazar v. Dist.
                                       of Col., 123 F.Supp.2d 8 (D.D.C. 2000).

                                       * “Years Out of Law School” is calculated from June 1 of each year, when most law
                                       students graduate. “1-3" includes an attorney in his 1st, 2nd and 3rd years of practice,
                                       measured from date of graduation (June 1). “4-7" applies to attorneys in their 4th, 5th, 6th
                                       and 7th years of practice. An attorney who graduated in May 1996 would be in tier “1-3"
                                       from June 1, 1996 until May 31, 1999, would move into tier “4-7" on June 1, 1999, and tier
                                       “8-10" on June 1, 2003.

                                       ** The Adjustment Factor refers to the nation-wide Legal Services Component of the
                                       Consumer Price Index produced by the Bureau of Labor Statistics of the United States
                                       Department of Labor.




http://www.laffeymatrix.com/see.html                                                                                              2/2
Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 33 of 56 Page ID #:962




                              EXHIBIT D
                             Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 34 of 56 Page ID #:963

KOUL LAW FIRM


Time Sheet for Nazo Koulloukian for Jose Tinoco v. Hajoca Corporation


ACTIVITY CODES

01 - Analysis and evaluation of   06 - Court appearance re        11 - Miscellaneous                   16 - Prepare letter to           21 - Review letter from             26 - Telephone call to
02 - Attend                       07 - Deposition of              12 - Preparation for                 17 - Prepare opinion letter to   22 - Revise                         27 - Telephone conference with
03 - Attend deposition of         08 - Document inspection        13 - Preparation of                  18 - Prepare status report       23 - Settlement negotiations with   28 - Travel to
04 - Arrange services of          09 - Factual investigation re   14 - Preparation for trial, incl:    19 - Review                      24 - Take depositions of            29 - Trial of
05 - Conferences with             10 - Legal research re          15 - Prepare and file                20 - Review file                 25 - Telephone call from            30-    Propounded Discovery
                                                                                                                                                                            31-    Responded to Discovery




Client and Matter                                  Date           Hours                Costs          Activity Code #         Activity Description



Tinoco v. Hajoca Corporation                       5/26/2017      1.6                                 27                      Meeting with co-counsel Sahag Majarian and then
                                                                                                                              teleconference with client to discuss class claims



Tinoco v. Hajoca Corporation                       5/30/2017      2.7                                 20, 19                  Review documents produced by client and the company in order
                                                                                                                              to prepare claims and in preparation for PAGA letter.




Tinoco v. Hajoca Corporation                       5/31/2017      0.3                                 16, 21                  Emails to and from co-counsel Sahag Majarian



Tinoco v. Hajoca Corporation                       6/1/2017       1.2                                 16, 21                  Emails to and from co-counsel Sahag Majarian; Further Strategy
                                                                                                                              regarding PAGA Letter


Tinoco v. Hajoca Corporation                       6/15/2017      3.4                                 13                      Research and Preparation of initial draft for PAGA Notice Letter



Tinoco v. Hajoca Corporation                       6/17/2017      1.3                                 22                      Revise and finalize PAGA Notice Letter



                                                                                                                                                                                                             1
                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 35 of 56 Page ID #:964

Tinoco v. Hajoca Corporation        6/20/2017   0.3             13            Preparation of LWDA Filing Fee Letter



Tinoco v. Hajoca Corporation        6/21/2017   3.2             9. 19, 20     Review and analysis of Plaintiff’s time records and further
                                                                              research of additional issues consisting of time rounding and
                                                                              failure to pay all hours worked; Further Strategy on Issues




Tinoco v. Hajoca Corporation        6/22/2017   1.7             13, 16, 19    Email with expert and review and analysis of expert damage
                                                                              model of Plaintiff’s records



Tinoco v. Hajoca Corporation        6/23/2017   1.6             22            Revise and prepare supplemental PAGA Letter to add new
                                                                              issues


Tinoco v. Hajoca Corporation        6/23/2017   0.3             16, 21        Emails to and from co-counsel Sahag Majarian



Tinoco v. Hajoca Corporation        6/29/2017   1.5             1, 27         Teleconference with Plaintiff and further analysis of new issues
                                                                              to include in supplemental PAGA Letter




Tinoco v. Hajoca Corporation        7/6/2017    1.4             13            Finalize Supplemental PAGA letter to file with LWDA



Tinoco v. Hajoca Corporation        7/9/2017    3.8             9, 10, 13     Research on Westlaw and begin preparation of class action
                                                                              complaint and further strategy regarding the same.



Tinoco v. Hajoca Corporation        7/13/2017   5.4             10, 13        Further Research on Westlaw and finalize class action
                                                                              complaint for filing



Tinoco v. Hajoca Corporation        7/19/2017   0.8             12, 21        Send out Class Complaint for filing and review conformed copy




                                                                                                                                                 2
                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 36 of 56 Page ID #:965
Tinoco v. Hajoca Corporation        7/31/2017   0.6             16, 21        Email to and from Sahag Majarian to discuss Complaint



Tinoco v. Hajoca Corporation        8/4/2017    0.3             19            Receipt, review and analysis of Proof of Service of Defendant




Tinoco v. Hajoca Corporation        8/11/2017   0.8             19            Receipt, review and analysis of Initial Status Conference Order
                                                                              and Court Order Staying Case and Designating Matter as
                                                                              Complex



Tinoco v. Hajoca Corporation        8/17/2017   0.2             13            Preparation of filing of POS


Tinoco v. Hajoca Corporation        8/21/2017   3               13, 19        Receipt, review and analysis of Notice of Removal, Defendants’
                                                                              Answer, Civil Case Cover Sheet, Corporate Disclosure
                                                                              Statement, Declaration in Support of Notice of Removal,
                                                                              Certificate of Interested Parties, Notice of Case Assignment,
                                                                              Notice of Assignment to Judge Olguin, and Notice of Court-
                                                                              Directed ADR Program




Tinoco v. Hajoca Corporation        8/23/2017   0.7             13, 19        Receipt, Review and Analysis of Court Order Setting Rule 26
                                                                              Scheduling Conference and POS.



Tinoco v. Hajoca Corporation        9/7/2017    0.6             16, 21        Email to Sahag Majarian to discuss strategy off case



Tinoco v. Hajoca Corporation        9/12/2017   0.7             16, 21        Email to and from opposing counsel



Tinoco v. Hajoca Corporation        9/15/2017   3.1             13, 16, 21    Preparation of Initial Draft of the Joint Rule 26(f) Report and
                                                                              email opposing counsel regarding the same; Strategy regarding
                                                                              the same.




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                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 37 of 56 Page ID #:966
Tinoco v. Hajoca Corporation        9/18/2017    0.3            16, 21        Email to and from Sahag Majarian
                                                                              Email to and from opposing counsel
Tinoco v. Hajoca Corporation        9/20/2017    0.4            16, 21


Tinoco v. Hajoca Corporation        9/21/2017    1.9            16, 21, 22    Email to and from opposing counsel and revise Joint Rule 26(f)
                                                                              Report and email opposing counsel regarding the same for filing




Tinoco v. Hajoca Corporation        9/21/2017    0.4            16, 21        Email to Sahag Majarian


Tinoco v. Hajoca Corporation        9/26/2017    0.7            19            Receipt, review and analysis of OSC For Remand, Scheduling
                                                                              Order for Remand, and Minutes of In/Chamber Notice/Directive




Tinoco v. Hajoca Corporation        10/2/2017    0.9            19            Receipt, review and analysis of Supplemental Brief from
                                                                              Defendants to Support Removal



Tinoco v. Hajoca Corporation        10/4/2017    0.8            16, 21        Emails to and from Sahag Majarian and teleconference
                                                                              regarding Opposition to Supplemental Brief to not Remand
                                                                              Matter Back to State Court




Tinoco v. Hajoca Corporation        10/5/2017    0.7            16, 21        Emails to and from Sahag Majarian and further teleconference
                                                                              regarding Opposition to Supplemental Brief to not Remand
                                                                              Matter Back to State Court




Tinoco v. Hajoca Corporation        10/11/2017   0.6            16, 21        Emails to and from opposing counsel and Sahag Majarian



Tinoco v. Hajoca Corporation        10/12/2017   3.5            16, 19, 21    Email to and from opposing counsel; Begin preparation of
                                                                              Plaintiff’s First Amended Complaint to add PAGA Cause of
                                                                              action and strategy regarding the same.




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                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 38 of 56 Page ID #:967
Tinoco v. Hajoca Corporation        10/16/2017   0.6            13, 19           Receipt, review and analysis of Order for Motion for Class
                                                                                 Certification, Order for MSJ, Scheduling and CMC Order.




Tinoco v. Hajoca Corporation        10/16/2017   0.9            19               Preparation to file Stipulation to file Frist Amended Complaint



Tinoco v. Hajoca Corporation        10/16/2017   1.1            16, 21, 22       Email to and from opposing counsel regarding Draft of First
                                                                                 Amended Complaint and Stipulation



Tinoco v. Hajoca Corporation        10/20/2017   0.2            16, 21           Email to opposing counsel


Tinoco v. Hajoca Corporation        10/24/2017   0.9            16, 19, 21       Email to and from opposing counsel and finalize First Amended
                                                                                 Complaint to add PAGA



Tinoco v. Hajoca Corporation        10/27/2017   2.3            16, 21, 22, 27   Email to and from opposing counsel and teleconference with
                                                                                 opposing counsel regarding the same, and further revisions of
                                                                                 Stipulation to file FAC and further strategy




Tinoco v. Hajoca Corporation        10/28/2017   0.6            16, 21           Email to and from Sahag Majarian
                                                                                 Email to Opposing Counsel
Tinoco v. Hajoca Corporation        10/29/2017   0.3            16
                                                                                 Preparation and filing of Stipulation to file FAC and Proposed
                                                                                 Order

Tinoco v. Hajoca Corporation        10/30/2017   0.4            19


Tinoco v. Hajoca Corporation        10/31/2017   1.3            16, 19, 21       Email to and from Court Clerk and Review and Analysis of Order
                                                                                 and Conformed FAC; Email to and from Opposing counsel;
                                                                                 Teleconference with Sahag Majarian




Tinoco v. Hajoca Corporation        11/1/2017    0.3            27               Email to opposing counsel


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                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 39 of 56 Page ID #:968

Tinoco v. Hajoca Corporation        11/5/2017    0.4            16, 21        Email to and from Opposing Counsel



Tinoco v. Hajoca Corporation        11/6/2017    0.6            13, 16, 21    Email to and from Opposing Counsel



Tinoco v. Hajoca Corporation        11/7/2017    1.1            16, 21, 27    Email from Opposing Counsel and Teleconference with
                                                                              Opposing Counsel Regarding the Same.



Tinoco v. Hajoca Corporation        11/14/2017   0.3            16            Email to opposing counsel


Tinoco v. Hajoca Corporation        11/15/2017   2.2            16, 19, 21    Email to and from opposing counsel and Sahag Majarian;
                                                                              Receipt, Review and Analysis of Defendants’ Answer to FAC
                                                                              and further strategy



Tinoco v. Hajoca Corporation        11/21/2017   0.7            13, 19, 21    Receipt, review, and analysis of Defendant’s Status of Removed
                                                                              Case, and email to opposing counsel




Tinoco v. Hajoca Corporation        11/26/2017   0.2            21
                                                                              Email from Opposing Counsel.


Tinoco v. Hajoca Corporation        11/30/2017   0.6            16, 21        Email to and from Opposing Counsel regarding mediation



Tinoco v. Hajoca Corporation        12/1/2017    0.9            16, 21        Email to and from Opposing Counsel and Sahag Majarian
                                                                              regarding mediation



Tinoco v. Hajoca Corporation        12/2/2017    0.4            16, 21        Email to and from Opposing Counsel and Sahag Majarian
                                                                              regarding mediation



Tinoco v. Hajoca Corporation        12/3/2017    0.2            21            Email from Opposing Counsel.


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                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 40 of 56 Page ID #:969
Tinoco v. Hajoca Corporation        12/14/2017   3.8            16, 19, 21
                                                                              Preparation of Pre-Mediation Wish List for informal Discovery
                                                                              and Exchange of Documents and Data, Email to and from
                                                                              Opposing Counsel and Sahag Majarian Regarding the Same
                                                                              and further strategy




Tinoco v. Hajoca Corporation        12/18/2017   0.6            16, 21        Email to and from Opposing Counsel and Sahag Majarian



Tinoco v. Hajoca Corporation        12/20/2017   0.4            16, 21        Email to and from Opposing Counsel and Sahag Majarian




Tinoco v. Hajoca Corporation        12/21/2017   0.5            16, 21        Email to and from Opposing Counsel and Sahag Majarian



Tinoco v. Hajoca Corporation        12/22/2017   0.6            27            Teleconference with Opposing Counsel and Sahag Majarian
                                                                              regarding Mediation



Tinoco v. Hajoca Corporation        1/22/2018    0.3            16            Email to Opposing Counsel


Tinoco v. Hajoca Corporation        1/23/2018    0.7            16, 19, 21    Submission of FAC PAGA Complaint with LWDA; Email to and
                                                                              from opposing counsel regarding Mediation.




Tinoco v. Hajoca Corporation        1/29/2018    0.4            16, 21        Email to and from Opposing Counsel.



Tinoco v. Hajoca Corporation        2/5/2018     2.3            16, 21        Email to and from Opposing Counsel and Sahag Majarian
                                                                              regarding mediation and wish list and further strategy.



Tinoco v. Hajoca Corporation        2/7/2018     0.9            16, 21        Email to and from Mediator’s Office and Opposing Counsel




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                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 41 of 56 Page ID #:970
Tinoco v. Hajoca Corporation        2/9/2017    0.3             21            Email to Opposing Counsel


Tinoco v. Hajoca Corporation        2/14/2018   1.5             16, 21        Email to and from Opposing Counsel and Sahag Majarian;
                                                                              Preparation of Stipulation to Continue All Deadlines




Tinoco v. Hajoca Corporation        2/14/2018   0.2             19            Review of Filing of Stipulation to Continue All Deadlines



Tinoco v. Hajoca Corporation        2/15/2018   0.9             16, 21        Email to and from Sahag Majarian and his office; Review of
                                                                              Order from Court to Continue all Deadlines.




Tinoco v. Hajoca Corporation        2/20/2018   0.7             16, 21        Email to and from Opposing Counsel regarding mediation



Tinoco v. Hajoca Corporation        2/22/2018   0.9             16, 21, 27    Email to and from Sahag Majarian’s office and mediator’s office;
                                                                              Teleconference with Sahag Majarian’s office regarding the same




Tinoco v. Hajoca Corporation        2/28/2018   0.4             16, 21        Email to and from Sahag Majarian’s office



Tinoco v. Hajoca Corporation        3/14/2018   1.3             16, 19, 21    Email from mediator’s office and review of correspondence from
                                                                              mediator’s office and further strategizing



Tinoco v. Hajoca Corporation        3/21/2018   0.6             16            Email to and from Opposing Counsel



Tinoco v. Hajoca Corporation        4/12/2018   0.2             19            Review and analysis of Request to Substitute of Withdraw
                                                                              Attorney




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                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 42 of 56 Page ID #:971
Tinoco v. Hajoca Corporation        4/13/2018   0.7             19            Review and analysis of Striking Electronically Filed Documents;
                                                                              Email to and from Opposing counsel




Tinoco v. Hajoca Corporation        4/19/2018   0.2             19            Review and analysis of Request to Substitute of Withdraw
                                                                              Attorney


Tinoco v. Hajoca Corporation        4/20/2018   0.5             16, 19, 21    Review and analysis of Order for Request to Substitute of
                                                                              Withdraw Attorney; Email to and from Opposing Counsel




Tinoco v. Hajoca Corporation        4/27/2018   1.1             19            Review and analysis of Order for Stipulation to Continue all
                                                                              Deadlines; Email to and from opposing counsel




Tinoco v. Hajoca Corporation        5/2/2018    0.3             19            Review and analysis of Order Granting Stipulation



Tinoco v. Hajoca Corporation        5/4/2018    3               16, 19, 21    Receipt, Review, and analysis of Defendants’ First Production of
                                                                              Documents consisting of time and payroll records, and email to
                                                                              and from opposing counsel, and further strategy




Tinoco v. Hajoca Corporation        5/5/2018    1.9             16, 21        Email to and from Opposing Counsel; Email to Expert and
                                                                              Further Teleconference and further strategy



Tinoco v. Hajoca Corporation        5/7/2018    1.1             16, 21        Email to and from expert and teleconference regarding the same



Tinoco v. Hajoca Corporation        5/8/2018    1.9             19, 21, 27    Receipt, Review, and analysis of Defendants’ Second
                                                                              Production of Documents consisting of time and payroll records,
                                                                              and email from opposing counsel; Teleconference and Email
                                                                              with Expert



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                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 43 of 56 Page ID #:972

Tinoco v. Hajoca Corporation        5/12/2018   0.4             16, 21        Email to and from Opposing Counsel



Tinoco v. Hajoca Corporation        5/17/2018   4.5             19, 21, 27    Receipt, Review, and analysis of Defendants’ Third Production
                                                                              of Documents (Part 1, 2, and 3) consisting of time and payroll
                                                                              records, handbooks, various other employment records and
                                                                              email to and from opposing counsel; Teleconference and email
                                                                              with expert and further strategy.




Tinoco v. Hajoca Corporation        5/18/2018   0.7             27            Teleconference with expert regarding new analysis and damage
                                                                              model



Tinoco v. Hajoca Corporation        5/22/2018   1.3             16, 21, 27    Email to and from Opposing Counsel; Teleconference and email
                                                                              to expert



Tinoco v. Hajoca Corporation        5/23/2018   1.3             16, 21, 27    Email to and from Opposing Counsel; Teleconference and email
                                                                              to expert regarding the same



Tinoco v. Hajoca Corporation        5/23/2018   3.3             16, 19, 27    Receipt, Review, and analysis of Defendants’ Fourth Production
                                                                              of Documents consisting of time and payroll records, and email
                                                                              from opposing counsel; Further Teleconference with expert and
                                                                              further strategy




Tinoco v. Hajoca Corporation        5/25/2018   2.4             19, 27        Receipt, Review, and analysis of Damage Analysis in
                                                                              Preparation of Mediation Brief; Teleconference with expert
                                                                              regarding damage model and further strategy




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                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 44 of 56 Page ID #:973
Tinoco v. Hajoca Corporation        5/29/2018   7.6             9, 13, 19, 27   Review expert analysis, confer with Sahag Majarian regarding
                                                                                damages items missing from analysis, review client file, conduct
                                                                                legal research on Westlaw, confer with Sahag Majarian re
                                                                                strategy. Teleconference with expert and Draft mediation brief.




Tinoco v. Hajoca Corporation        5/30/2018   2.7             13, 16, 21      Email to and from Mediator’s Office and Finalize Mediation Brief
                                                                                with Exhibits



Tinoco v. Hajoca Corporation        5/30/2018   0.6             16, 21          Email to and from Opposing Counsel



Tinoco v. Hajoca Corporation        5/31/2018   1.4             16, 21, 27      Email to and from Opposing Counsel and Teleconference with
                                                                                Sahag Majarian to discuss strategy



Tinoco v. Hajoca Corporation        6/1/2018    2.9             16, 21, 27      Email to and from Opposing Counsel and Teleconference with
                                                                                Opposing Counsel and Sahag Majarian, and thereafter expert to
                                                                                discuss mediation




Tinoco v. Hajoca Corporation        6/2/2018    1.3             16, 21          Emails to and from Sahag Majarian and expert




Tinoco v. Hajoca Corporation        6/4/2018    1.8             27              Teleconference with Sahag Majarian and expert prior to
                                                                                Mediation and further strategy



Tinoco v. Hajoca Corporation        6/5/2018    9.4             2, 28           Review documents in preparation for mediation; Travel to and
                                                                                from Defense counsel’s office to attend mediation with Jeff
                                                                                Krivis.




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                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 45 of 56 Page ID #:974
Tinoco v. Hajoca Corporation        6/6/2018    1.8             16, 19, 21    Receipt, review, and analysis of Memorandum of Understanding
                                                                              and email to and from opposing counsel regarding the same and
                                                                              further strategy regarding the same

Tinoco v. Hajoca Corporation        6/11/2018   0.4             16, 21        Multiple emails to and from Expert
Tinoco v. Hajoca Corporation        6/18/2018   0.5             16, 21        Multiple emails to and from opposing counsel



Tinoco v. Hajoca Corporation        6/19/2018   1.3             16, 21        Multiple emails to and from Potential Class Action
                                                                              Administrators and opposing counsel



                                                2.1
Tinoco v. Hajoca Corporation        6/25/2018                   21
                                                                              Receipt, review, and analysis of Settlement Agreement and
                                                                              Class Notice in preparation of revisions and email to and from
                                                                              opposing counsel regarding the same.



Tinoco v. Hajoca Corporation        6/27/2018   0.8             16, 21        Email to and from opposing counsel and further revise
                                                                              settlement agreement.

Tinoco v. Hajoca Corporation        7/2/2018    0.6             16, 21, 22    Email to and from opposing counsel and further revisions of
                                                                              settlement agreement

Tinoco v. Hajoca Corporation        7/5/2018    0.4             16, 21, 22    Email to and from opposing counsel and further revisions of
                                                                              settlement agreement

Tinoco v. Hajoca Corporation        7/9/2018    1.1             16, 21        Emails to and from Sahag Majarian, opposing counsel, and
                                                                              Class Action Administrator




Tinoco v. Hajoca Corporation        7/10/2018   0.9             16, 19, 21    Email to and from Sahag Majarian, review of declaration of
                                                                              Sahag Majarian in preparation of Motion for Preliminary
                                                                              Approval. .

Tinoco v. Hajoca Corporation        7/16/2018   3.2             22
                                                                              Revise Stipulation of Settlement of Class Claims.


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                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 46 of 56 Page ID #:975

Tinoco v. Hajoca Corporation        7/20/2018   2.1             16, 21        Email to and from Sahag Majarian and opposing counsel
                                                                              regarding Settlement Release Execution and further strategy
                                                                              regarding the same


Tinoco v. Hajoca Corporation        7/23/2018   0.6             16, 21        Email to and from opposing counsel



Tinoco v. Hajoca Corporation        7/24/2018   0.8             16, 21        Email to and from opposing counsel and Sahag Majarian



Tinoco v. Hajoca Corporation        7/25/2018   5.4             10, 13,       Conduct legal research (Westlaw), review client file and
                                                                              settlement agreement, begin drafting Motion for Preliminary
                                                                              Approval of Class Action Settlement




Tinoco v. Hajoca Corporation        7/26/2018   5.3             13            Further drafting of Motion for Preliminary Approval; Prepare
                                                                              Plaintiff Declaration ISO



Tinoco v. Hajoca Corporation        7/27/2018   6.6             13            Complete initial draft of Motion for Preliminary Approval; Prepare
                                                                              Koulloukian Decl ISO Motion; Prepare Proposed Order




Tinoco v. Hajoca Corporation        7/27/2018   1.4             16, 21        Email to and from Opposing counsel regarding Motion for
                                                                              Preliminary Approval and further strategy regarding the same



Tinoco v. Hajoca Corporation        7/30/2018   0.7             16, 21        Email to and from opposing counsel and Sahag Majarian




Tinoco v. Hajoca Corporation        8/2/2018    0.6             16, 21        Email to and from opposing counsel




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                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 47 of 56 Page ID #:976
Tinoco v. Hajoca Corporation        8/6/2018   2.2              16, 19, 21       Review Defense comments regarding motion for preliminary
                                                                                 approval, confer regarding revisions, future action; Email to and
                                                                                 from Opposing Counsel




Tinoco v. Hajoca Corporation        8/7/2018   5.8              13, 16, 21, 22   Conduct legal research, revise and complete motion for
                                                                                 preliminary approval, conduct extensive edits to make page
                                                                                 limit; conduct cite check and finalize authorities; revise
                                                                                 Declaration of Counsel in support thereof; finalize for filing;
                                                                                 confer re LWDA settlement filing requirements; Email to and
                                                                                 from Opposing Counsel




Tinoco v. Hajoca Corporation        8/8/2018   4.6              13, 16, 21       Email to and from Sahag Majarian and his office, Court Clerk;
                                                                                 Finalize all aspects of Motion for Preliminary Approval and all
                                                                                 Supporting Documents for Filing




Tinoco v. Hajoca Corporation        9/5/2018   1.9              13, 19           Review and analysis of Motion for Preliminary Approval and all
                                                                                 Supporting Documents in Preparation for Hearing.




Tinoco v. Hajoca Corporation        9/6/2018   4.2              2, 16, 21, 28    Travel to and from Central District Court in order to Attend
                                                                                 Motion for Preliminary Approval Hearing; Email to and from
                                                                                 opposing counsel; Review Order from Court




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                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 48 of 56 Page ID #:977
Tinoco v. Hajoca Corporation        9/7/2018    3.6             13, 16, 19, 21, 27   Review court's requirements for renewed motion for preliminary
                                                                                     approval; conduct legal research; evaluate future action;
                                                                                     Teleconference with opposing counsel; Email to and from Court
                                                                                     Reporter and further strategy




Tinoco v. Hajoca Corporation        9/11/2018   0.4             16, 21               Email to and from opposing counsel



Tinoco v. Hajoca Corporation        9/12/2018   0.9             16, 19, 21           Email to and from opposing counsel and review of Court
                                                                                     transcript of the hearing



Tinoco v. Hajoca Corporation        9/13/2018   1.2             13, 16, 27           Teleconference with expert and begin preparation of analysis for
                                                                                     mediation brief, review of initial analysis from experi




Tinoco v. Hajoca Corporation        9/18/2018   3.8             13, 19, 27           Review Defendant's proposed terms; revise Motion for
                                                                                     Preliminary Approval; Multiple emails to and from Opposing
                                                                                     Counsel; Teleconference with Opposing Counsel




Tinoco v. Hajoca Corporation        9/19/2018   3.9             13                   Draft and Prepare Second Amended Complaint; Email to and
                                                                                     from Opposing Counsel



Tinoco v. Hajoca Corporation        9/20/2018   3.3             13, 16, 21           Teleconference with Expert regarding declaration and multiple
                                                                                     emails to and from Expert counsel regarding the same; Email to
                                                                                     and from Opposing Counsel




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                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 49 of 56 Page ID #:978
Tinoco v. Hajoca Corporation        9/21/2018    1.7            13, 16, 21    Email to and from Sahag Majarian’s office, and teleconference
                                                                              with expert and further strategy




Tinoco v. Hajoca Corporation        9/25/2018    1.9            16, 19        Email to and from Opposing Counsel



Tinoco v. Hajoca Corporation        9/26/2018    2.7            13, 16, 21    Email to and from Opposing Counsel; Preparation of Stipulation
                                                                              to Exceed Page Limit for Amended Motion for Preliminary
                                                                              Approval and Proposed Order




Tinoco v. Hajoca Corporation        9/27/2018    4.4            16, 19, 21    Email to and from Opposing Counsel and revise Class Notice;
                                                                              Review Expert Declaration from Defense; Assemble and finalize
                                                                              Motion for Preliminary Approval, corresponding declarations,
                                                                              and proposed order and further strategy




Tinoco v. Hajoca Corporation        9/28/2018    2.5            16, 21        Preparation of Notice of Errata and Amended Declaration of
                                                                              Nazo Koulloukian in Support of Motion for Preliminary Approval;
                                                                              Review and analysis of Court Order Approving Stipulation for
                                                                              page limit



Tinoco v. Hajoca Corporation
                                    10/19/2018   0.4            16, 21        Email to and from opposing counsel



Tinoco v. Hajoca Corporation        10/19/2018   1.4            16, 21, 27    Teleconference with Sahag Majarian and, Email to Sahag
                                                                              Majarian confirming the same



Tinoco v. Hajoca Corporation        10/19/2018   0.4            16            Email to Class Action Administrator




                                                                                                                                                16
                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 50 of 56 Page ID #:979
Tinoco v. Hajoca Corporation        10/22/2018   0.7            16, 21        Email to and from Class Action Administrator



Tinoco v. Hajoca Corporation        10/23/2018   0.3            21            Email from Class Action Administrator



Tinoco v. Hajoca Corporation        10/25/2018   0.9            16, 21        E mail to and from opposing counsel and class action
                                                                              administrator



Tinoco v. Hajoca Corporation        10/31/2018   0.4            21            Email to and from Class Action Administrator



Tinoco v. Hajoca Corporation        11/1/2018    0.3            16, 21        Email to and from Class Action Administrator



Tinoco v. Hajoca Corporation        10/24/2018   3.5            13, 19        Review and analysis of Amended Motion for Preliminary
                                                                              Approval and all Supporting Declarations in Preparation of
                                                                              hearing and further strategy



Tinoco v. Hajoca Corporation        10/25/2018   3.8            2, 13, 28     Travel to and from Central District of California to attended
                                                                              Motion for Preliminary Approval Hearing with Judge Olguin




Tinoco v. Hajoca Corporation        10/26/2018   2.5            13            Prepare and file Second Amended Complaint



Tinoco v. Hajoca Corporation        10/29/2018   0.3            19            Review and analysis of Court Order regarding Amended Motion
                                                                              for Preliminary Approval.



Tinoco v. Hajoca Corporation        10/30/2018   0.7            16, 21        Review and analysis of Notice of Deficiency in Electronically
                                                                              Filed Documents and Email to and from Court Clerk regarding
                                                                              the same




                                                                                                                                              17
                        Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 51 of 56 Page ID #:980
Tinoco v. Hajoca Corporation        10/31/2018   0.4            16, 21        Review and analysis of Defendant’s Answer to Plaintiff’s Second
                                                                              Amended Complaint



Tinoco v. Hajoca Corporation        11/1/2018    0.3            16, 21        Email to and from Class Action Administrator



Tinoco v. Hajoca Corporation        11/5/2018    0.4            16, 21        Email to and from opposing counsel



Tinoco v. Hajoca Corporation        11/6/2018    0.3            16, 21        Email to and from opposing counsel




Tinoco v. Hajoca Corporation        11/7/2018    1.4            16, 21        Emails to and from opposing counsel, and teleconference
                                                                              regarding the same



Tinoco v. Burlingame Industries     11/8/2018    0.6            16, 21        Email to and from opposing counsel



Tinoco v. Hajoca Corporation        11/9/2018    4.3            13            Preparation and Filing of Amended/Supplemental Declaration of
                                                                              Nazo Koulloukian and all Supporting Documents and further
                                                                              strategy



Tinoco v. Hajoca Corporation        11/14/2018   0.6            16, 21        Email to and from Court Clerk and opposing counsel



Tinoco v. Hajoca Corporation        12/11/2018   0.3            16, 21        Email to and from Court Clerk


Tinoco v. Hajoca Corporation        12/20/2018   0.4            16, 21        Email to and from Court Clerk



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                      Case 2:17-cv-06187-FMO-AS Document 53-1 Filed 08/16/19 Page 52 of 56 Page ID #:981
Tinoco v. Hajoca Corporation      1/25/2019   4.6             16, 21           Email to and from Sahag Majarian


Tinoco v. Hajoca Corporation      2/12/2019   0.6             16, 27           Email to opposing counsel and teleconference regarding the
                                                                               same


Tinoco v. Hajoca Corporation      3/4/2019    0.4             16, 21           Email to and from opposing counsel



Tinoco v. Hajoca Corporation      3/8/2019    0.7             16, 21           Email to and from Opposing Counsel and co-counsel’s office



Tinoco v. Hajoca Corporation      4/9/2019    2.9             16, 19, 21       E mail to and from opposing counsel, preparation of Revised
                                                                               Proposed Order and further strategy



Tinoco v. Hajoca Corporation      4/15/2019   3.5             13, 16, 19, 21   Confer regarding necessity of filing Joint Request for Decision,
                                                                               review local rules, Westlaw, file and docket, prepare Joint
                                                                               Request; email to and from opposing counsel




Tinoco v. Hajoca Corporation      4/19/2019   1.8             13, 16, 21       Email to and from Opposing Counsel and Sahag Majarian’s
                                                                               office; Finalize and file Joint Request for Decision




Tinoco v. Hajoca Corporation      4/26/2018   1.3             16, 21, 27       Email to and from opposing counsel and teleconference
                                                                               regarding the same; Email to and from Class action
                                                                               administrator



Tinoco v. Hajoca Corporation      5/1/2019    2.8             16, 21           Email to and from Opposing Counsel; Prepare Amended
                                                                               Proposed Order for Joint Request and further strategy.



Tinoco v. Hajoca Corporation      5/10/2019   0.8             13, 16, 21       Finalize and File Amended Request for Ruling and Proposed
                                                                               Order




                                                                                                                                                  19
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Tinoco v. Hajoca Corporation        5/13/2019   0.4             16, 21           Email to and from opposing counsel



Tinoco v. Hajoca Corporation        5/14/2019   0.3             16, 21           Email to and from opposing counsel, review court order
                                                                                 regarding Request for Ruling



Tinoco v. Hajoca Corporation        6/18/2019   1.6             13, 16, 19, 21   Receipt, review and analysis of Court Order Granting Motion for
                                                                                 Preliminary Approval; email to and from class action
                                                                                 administrator and opposing counsel


Tinoco v. Hajoca Corporation        6/19/2019   0.3             16, 21           Email to and from class action administrator



Tinoco v. Hajoca Corporation        7/8/2019    0.3             16, 21           Email to and from class action administrator




Tinoco v. Hajoca Corporation        7/11/2019   0.3             16, 21           Email to and from class action administrator



Tinoco v. Hajoca Corporation        7/15/2019   0.4             16, 21           Email to and from class action administrator



Tinoco v. Hajoca Corporation        7/16/2019   0.7             16, 21           Email to and from class action administrator and Sahag
                                                                                 Majarian


Tinoco v. Hajoca Corporation        7/17/2019   1.9             16, 21           Email to and from class action administrator and Sahag
                                                                                 Majarian and further strategy
Tinoco v. Hajoca Corporation        8/01/2019   7.1             10, 13,          Conduct legal research (Westlaw), review client file and
                                                                                 settlement agreement, begin drafting Motion for Attorneys’ Fees,
                                                                                 Costs, and Enhancement Award
Tinoco v. Hajoca Corporation        8/08/2019   6.2             10, 13,          Conduct further legal research (Westlaw), review client file and
                                                                                 settlement agreement, begin drafting Declaration of Nazo
                                                                                 Koulloukian In Support of Motion for Attorneys’ Fees, Costs, and
                                                                                 Enhancement Award
Tinoco v. Hajoca Corporation        8/12/2019   6.8             10, 13,          Preparation of Proposed Order for Motion for Attorneys’ Fees,
                                                                                 Costs, and Enhancement Award; revise and finalize Notice of
                                                                                 Motion, the Motion, and Declaration of Nazo Koulloukian In
                                                                                 Support of Motion for Attorneys’ Fees, Costs, and Enhancement
                                                                                 Award


                                                                                                                                                    20
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Tinoco v. Hajoca Corporation        8/16/2019   6.6             10, 13, 16, 19   Finalize and prepare all exhibits Motion for Attorneys’ Fees,
                                                                                 Costs, and Enhancement Award and finalize and complete final
                                                                                 revisions of Motion for Attorneys’ Fees, Costs, and
                                                                                 Enhancement Award and Declaration in Preparation for Filing,
                                                                                 Telephone Call to and from Sahag Majarian Regarding the
                                                                                 Same
                                    Total       298.5




                                                                                                                                                 21
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     KOUL LAW FIRM AND LAW OFFICES OF SAHAG MAJARIAN II - Cost Sheet for Jose Tinoco v. Hajoca
                                        Corporation



      A. KOUL LAW FIRM’s Costs
      1. Filing Fees
              a. Filing Fee = $1,739.96
      2. Process Server = $455.30
      3. Expert Fees - $3,200
              a. $300
              b. $500
              c. $2,400
      4. Mileage Copies, etc.
              a. $332
      5. Court Transcript from Preliminary Approval Motion - $181.50

   TOTAL COSTS FOR KOUL LAW: $5,908.76



      B. Law Offices of Sahag Majarian Costs


   Type    Payment Method         Date    Num    Source Name    Invoice Invoice Date    Memo
           Amount

   Other Costs

           Check 8/30/2017        3566    Sean Berger   1687    8/26/2017       Rounding Analysis
           $300.00

           Check 10/16/2017       3632    Fedex 5-959-46965     10/13/2017      Documents to client
           $17.49

           Check                  Fedex                 Settlement Revised sent to client       $22.54
           Pending

           Check                  Fedex                 Return Revised Settlement Agreement $18.55
           Pending

   Total                                                        $358.58


   Travel, Parking, Gas, and Mediation

           Check 2/27/2018        3797    First Mediation 20703 2/21/2018       Mediation Fee
           $6,000.00

          Cash 6/6/2018                Jose Tinoco                      Mileage Reimbursment for
   mediation 188 miles @ $ 0.55 $105.00
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           Cash    6/6/2018                Sahag Majarian   Parking for mediation   $40.50

           Cash    6/6/2018                Jose Tinoco      Parking for mediation   $40.50

           Cash    6/6/2018                Jean Koper       Parking for mediation   $40.50



   Total Costs for Law Offices of Sahag Majarian II                        $6,226.50



   TOTAL COSTS BETWEEN BOTH FIRMS = $12,135.26
